          Case 22-50216        Doc 28      Filed 08/22/22     Entered 08/22/22 11:26:58           Desc     Page 1
                                                            of 1




                                         UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF GEORGIA


IN RE:                                                       CHAPTER 13
Victory Gunzel Mayfield
139 Honeysuckle Lane
Jenkinsburg, GA 30234                                        Case Number: 22-50216-JPS


                                                             ATTORNEY: WAYNE GILLELAND


                                        NOTICE OF CONTINUED CONFIRMATION

  NOTICE IS HEREBY GIVEN THAT THE HEARING ON CONFIRMATION, INCLUDING ANY AND ALL PENDING MOTIONS
AND OBJECTIONS FILED BY THE TRUSTEE IN THE ABOVE -REFERENCED CASE HAS BEEN CONTINUED.

   THIS HEARING WILL BE BROUGHT BEFORE THE COURT ON SEPTEMBER 15, 2022 AT 1:30 PM IN COURTROOM A,
U.S. BANKRUPTCY COURT 433 CHERRY STREET MACON, GEORGIA.

Parties should consult the Court's website (www.gamb.uscourts.gov) concerning whether the hearing will be in-person,
telephonic, or virtual. Please refer to Administrative Order #145 for more guidance.


                                                CERTIFICATE OF SERVICE

  I HEREBY CERTIFY a true and correct copy of the attached document was sent (1) via electronic notice to parties who are
ECF Filers and Consenting Users, (2) via electronic Notice to ECF Filers and Consenting Users who represent parties, and (3)
mailed postage prepaid to all other interested parties at their addresses shown below.

Via Electronic Notice:

WAYNE GILLELAND                                                Philip L. Rubin

Via U.S. Mail:
Victory Gunzel Mayfield
139 Honeysuckle Lane
Jenkinsburg, GA 30234

       DATED: August 22, 2022                                           /s/ Camille Hope
                                                                        Camille Hope, Trustee
                                                                        Office of the Chapter 13 Trustee
                                                                        P.O. Box 954
                                                                        Macon, GA 31202
                                                                        (478) 742-8706
